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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK MEMO ENDO R SED

CHEVRON CORPORATION,
Plaintiff,

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11 Civ. 0691 (LAK)
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STEVEN DONZIGER, et al., ;
DOCUMENT
Defendants. ELECTRONICALLY FILED

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CHEVRON CORPORATION’S SECOND MOTION TO COMPEL DONZIGER
TO RESPOND TO POST-JUDGMENT DISCOVERY REQUESTS

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Memorandum Endorsement Chevron Corp. v. Donziger. 11-ev-691 (LAK)

 

Chevron moves again to compel Donziger to respond to post-judgment discovery
requests. It asserts that he has (1) withheld responsive documents on the basis of scope and
purported First Amendment objections that the Court already has rejected, unsubstantiated privilege
claims, and a supposed lack of resources, (2) refused to answer dozens of questions at his deposition,
(3) failed to provide substantive responses to Chevron’s Information Requests, (4) concealed the
existence of and failed to produce documents from a TD Bank account reflecting payments of
hundreds of thousands of dollars to him and alleged co-conspirators, and (5) admittedly failed to
make a reasonable search for documents responsive to Chevron’s requests and withheld “a few
hundred pages” of other responsive documents. Donziger’s response essentially is that he has
appealed earlier orders in this case and that he should not be required to comply with these discovery
requests.

The short answer to Donziger’s position is that this Court ordered Donziger to
respond to certain of Chevron’s discovery requests by August 15, 2018. (DI 2056) That order
remains in effect and has not been stayed. Donziger is obliged to comply with it in each and every
respect on pain of contempt.

Without limiting the generality of the foregoing, it is further

ORDERED, that Chevron’s motion is granted in its entirety. Without limiting the
generality of the foregoing, it is further

ORDERED, as follows:

1, As Donziger has failed to comply with Fed. R. Civ. P. 26(b)(5) and
S.D.N.Y. Civ. R. 26.2 — and as (a) this is not the first time that he has ignored the requirements of
those rules, e.g., Jn re Chevron Corp., 749 F. Supp. 2d 170 (S.D.N.Y. 2010), aff'd sub nom. Lago
Agrio Plaintiffs v. Chevron Corp., 409 Fed. App’x 393 (2d Cir. 2010), and (b) Donziger failed to
comply even after Chevron asserted that his prior failure should result in waiver of any otherwise
applicable privileges — the Court holds that Donziger has waived or forfeited any claim of privilege
to responsive documents and information that otherwise might have applied. Accordingly, Donziger
shall comply fully with the outstanding discovery requests forthwith without withholding any
responsive documents or information on privilege grounds.

2. Donziger shall appear for and respond to questions at a further
deposition on a date to be agreed upon in writing by the parties or, failing such an agreement on or
before October 25, 2018, on a date to be fixed by the Court.

3, Given Donziger’s stonewalling of post-judgment discovery and the
other circumstances described in Chevron’s memorandum, itis appropriate that Donziger’s electronic
devices be imaged and examined for any responsive documents that Donziger has not thus far
produced under appropriate safeguards of the interests of all parties. The parties, on or before
October 26, 2018, shall agree upon or, in default of an agreement, notice for settlement an order
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providing for the selection, compensation and precise duties of a third party to whom Donziger will
be obliged to produce for forensic imaging all computers and electronic, optical and magnetic storage
devices and media within his possession, custody or control (a “Third Party”). Any such Third Party,
at a minimum, will be obliged to retain any forensic images in confidence pending further order of
the Court.

SO ORDERED

Dated: October 18; 2018 L.. WL
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